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 1 John C. Holmes, (Cal. State Bar No. 120578)
     jholmes@swesq.com
 2 Sean A Topp, (Cal. State Bar No. 217701)
     stopp@swesq.com
 3 STECKBAUER WEINHART, LLP
                 th
     333 S. Hope Street, 36 Floor
 4 Los Angeles, California 90071
     213.229.2868 – Telephone
 5 213.229.2870 – Facsimile

 6 Attorneys for Defendant UNITED
     STATES FIRE INSURANCE
 7 COMPANY

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 9                                 UNITED STATES DISTRICT COURT
10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11

12 BOB CAMPBELL RANCHES, INC., a                 Case No. 2:15-cv-9118-R-GJS
     California Corporation,
13                                               [Assigned to Hon. Manuel L. Real]
                          Plaintiff,
14                                                UNITED STATES FIRE
               v.                                 INSURANCE COMPANY’S
15                                                REQUEST FOR JUDICIAL NOTICE
     UNITED STATES FIRE INSURANCE                 FILED IN SUPPORT OF ITS
16 COMPANY, a Delaware Corporation;               MOTIONS TO DISMISS FOURTH
     CRUM AND FORSTER, a New Jersey               AND FIFTH CLAIMS FOR RELIEF
17 Corporation; and DOES 1 through 50,            AND TO STRIKE ALLEGATIONS
     inclusive,                                   RE PUNITIVE DAMAGES AND A
18                                                NON-EXISTENT NAMED
                          Defendants.             DEFENDANT
19
                                                  Date: January 19, 2016
20                                                Time: 10:00 a.m.
                                                  Courtroom: 8
21
                                                  Complaint Filed: September 30, 2015
22                                                Case Removed: November 24, 2015
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     10201.001/108750.1
     UNITED STATES FIRE INSURANCE COMPANY’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                    MOTION TO STRIKE
                                                                                           Case 2:15-cv-09118-R-GJS Document 8 Filed 12/01/15 Page 2 of 3 Page ID #:152



                                                                                            1                 Pursuant to Federal Rule of Evidence Rule 201, and subsection (c)(2)
                                                                                            2 thereof, Defendant United States Fire Insurance Company (“U.S. Fire”) requests

                                                                                            3 that the Court take judicial notice of the September 3, 1993 records of the Secretary

                                                                                            4 of State of the State of Delaware concerning the merger of “Crum and Forster, Inc.”

                                                                                            5 into ARB, Inc. as the surviving corporation on that date. A true and correct copy of

                                                                                            6 these records is attached hereto as Exhibit “A.” The record consist of 12 pages,

                                                                                            7 including the Delaware Secretary of State’s certification of the records.

                                                                                            8                 On a motion to dismiss, the Court may take judicial notice of matters of
                                                                                            9 public record outside the pleadings. MGIC Indemnity Corp. v. Weisman, 803 F.2d

                                                                                           10 500, 504 (9th Cir. 1986). Thus, under Rule 201(b)(2), a court may take judicial

                                                                                           11 notice of a governmental entity’s official records. Flores v. City of Hayward, 2010
STECKBAUER WEINHART, LLP
                           333 S. HOPE STREET, 36TH FLOOR, LOS ANGELES, CALIFORNIA 90071




                                                                                           12 U.S. Dist. LEXIS 91374 at *4, citing Grassroots v. County of San Francisco, 1994
                                        TEL 213.229.2868 • FAX 213.229.2870




                                                                                           13 U.S. Dist. LEXIS 15130, 1994 WL 589359, at *2 fn.1 (N.D. Ca. 1994). Federal

                                                                                           14 Rule of Evidence 201 allows a court to consider official records and reports without

                                                                                           15 converting a 12(b)(6) motion into a Rule 56 motion for summary judgment. Ricotta

                                                                                           16 v. California, 4 F. Supp. 2d 961 (S.D.Cal. 1998).

                                                                                           17

                                                                                           18 Dated: December 1, 2015                    STECKBAUER WEINHART, LLP
                                                                                           19

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                                                                                           21
                                                                                                                                         By:        /s/ John C. Holmes
                                                                                                                                                    John C. Holmes
                                                                                           22                                            Attorneys for Defendant UNITED STATES
                                                                                           23                                            FIRE INSURANCE COMPANY
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                                                                                                10201.001/108750.1                             1
                                                                                                UNITED STATES FIRE INSURANCE COMPANY’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                                                                                                               MOTION TO STRIKE
                                                                                           Case 2:15-cv-09118-R-GJS Document 8 Filed 12/01/15 Page 3 of 3 Page ID #:153



                                                                                            1                                   PROOF OF SERVICE
                                                                                            2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                                            3       At the time of service, I was over 18 years of age and not a party to this
                                                                                              action. I am employed in the County of Los Angeles, State of California. My
                                                                                            4 business address is 333 S. Hope Street, 36th Floor, Los Angeles, CA 90071.

                                                                                            5       On December 1, 2015, I served true copies of the following document(s)
                                                                                              described as UNITED STATES FIRE INSURANCE COMPANY’S REQUEST
                                                                                            6 FOR JUDICIAL NOTICE FILED IN SUPPORT OF ITS MOTIONS TO
                                                                                              DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF AND TO STRIKE
                                                                                            7 ALLEGATIONS RE PUNITIVE DAMAGES AND A NON-EXISTENT
                                                                                              NAMED DEFENDANT on the interested parties in this action as follows:
                                                                                            8
                                                                                                          Paul Hart, Esq.
                                                                                            9             Dennis Lewis, Esq.
                                                                                                          MONCRIEF & HART, PC
                                                                                           10             16 W. Gabilan St.
                                                                                                          Salinas, CA 93901
                                                                                           11             Tel.: (831) 759-0900
STECKBAUER WEINHART, LLP
                           333 S. HOPE STREET, 36TH FLOOR, LOS ANGELES, CALIFORNIA 90071




                                                                                                          Fax: (831) 759-0902
                                                                                           12             E-mail: PaulHart@MoncriefHart.com
                                                                                                          E-mail: Dennis@MoncriefHart.com
                                        TEL 213.229.2868 • FAX 213.229.2870




                                                                                           13
                                                                                                          Attorneys for Plaintiff, BOB
                                                                                           14             CAMPBELL RANCHES, INC.
                                                                                           15        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                              the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                           16 Participants in the case who are registered CM/ECF users will be served by the
                                                                                              CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                           17 be served by mail or by other means permitted by the court rules.

                                                                                           18       I declare under penalty of perjury under the laws of the United States of
                                                                                              America that the foregoing is true and correct and that I am employed in the office
                                                                                           19 of a member of the bar of this Court at whose direction the service was made.

                                                                                           20             Executed on December 1, 2015, at Los Angeles, California.
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                                                                                                                                           Elizabeth Cervantes
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                                                                                                10201.001/108750.1
                                                                                                UNITED STATES FIRE INSURANCE COMPANY’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                                                                                                               MOTION TO STRIKE
